                 Case 1:18-cr-03475-WJ Document 10 Filed 01/08/19 Page 1 of 1



                                     CLERK’S MINUTE SHEET
                           IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW MEXICO (AT ALBUQUERQUE)

                                Before the Honorable Karen B. Molzen

                                        Arraignment/Detention

Case Number:     CR 18-3475 WJ                      UNITED STATES vs. Dunsworth

Hearing Date:       1/8/2019                        Time In and Out:           9:37-9:46 / 9 min

Clerk:              E. Romero                       Courtroom:                 Rio Grande

Defendant:          Robert Dunsworth                Defendant’s Counsel:       Irma Rivas

AUSA             Joseph Spindle                     Pretrial/Probation:        C. Duarte

Interpreter:        N/A
PROCEEDINGS
☐      Defendant sworn

☐      First Appearance by Defendant

☒      Defendant received a copy of charging document

☒      Defendant questioned re: time to consult with attorney regarding penalties

☒      Defendant waives reading of Indictment

☒      Defendant enters a Not Guilty plea

☒      Motions due by: January 28, 2019

☒      Discovery Order electronically entered       ☐    Discovery Order previously entered

☒      Case assigned to: Chief Judge Johnson

☒      Trial will be scheduled by presiding judge   ☐    Trial currently set
Custody Status
☐      Defendant waives detention hearing
       Defendant remanded to custody of United      Defendant requests release to HWH; Government
☒
       States Marshal's Service                     ojbects.
☐      Conditions
Other
☐
